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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA


   CHLOE TSAKIRIS ALSTON,

          Plaintiff,

   v.                                                      Civil Action No. 1:20-cv-23013-BB

   CALCULATOR.COM; UNKNOWN
   REGISTRANT a/k/a RUTH YAKOBZON;
   STANDS4 LTD; and GODADDY.COM, LLC,

          Defendants.


        JOINT REQUEST TO EXTEND TEMPORARY RESTRAINING ORDER AND
         POSTPONE HEARING ON PLAINTIFF’S MOTION FOR PRELIMINARY
                               INJUNCTION

         Plaintiff Chloe Tsakiris Alston (“Plaintiff”) and Defendant Stands4 LTD (“Stands4”),

 through their respective counsel, respectfully request the Court: (1) extend the Temporary

 Restraining Order that the Court issued on July 27, 2020 [ECF No. 8] through August 17, 2020;

 and (2) postpone the hearing on Plaintiff’s Motion for Preliminary Injunction through August 14,

 2020. In support thereof, the parties state as follows:

         1.      On July 27, 2020, the Court entered a Temporary Restraining Order directing,

 inter alia, the transfer of the domain name calculator.com back to Plaintiff. ECF No. 8. The

 Order also set a hearing for August 7, 2020 on whether the Temporary Restraining Order should

 be made a Preliminary Injunction pending full trial on the merits.

         2.       Pursuant to Fed. R. Civ. P. 65(b)(2), a temporary restraining order expires no

 more than fourteen (14) days after entry “unless, before that time the court, for good cause,

 extends it for a like period or the adverse party consents to a longer extension.”




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        3.        Good cause exists to extend the temporary restraining order and postpone the

 August 7 hearing. First, Plaintiff’s counsel has experienced a death in the family that requires his

 immediate attention. Second, Plaintiff and Stands4 have engaged in preliminary discussions

 about resolving this matter, and the parties believe they would benefit from additional time to

 continue their discussions.

        Accordingly, for good cause shown, Plaintiff and Stands4 request that the Court: (1)

 extend the Temporary Restraining Order that the Court through August 17, 2020 at 5:00 p.m.

 EDT; and (2) postpone the hearing on Plaintiff’s Motion for Preliminary Injunction through

 August 14, 2020.

 Dated: August 5, 2020

  By:         /s/ Rafael Recalde                              /s/ Ari S. Meltzer
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                                                            Attorneys for Defendant
                                                            Stands4 LTD


 SO ORDERED
                                  _______________________________________



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                                 CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

 5th day of August, 2020 via e-service to:

        Lydecker Diaz, attn.: Joan Carlos Wizel, jcw@lydeckerdiaz.com;

        Wiley Rein LLP, attn.: David E. Weslow and Ari S. Meltzer, dweslow@wiley.law;

 ameltzer@wiley.law



                                                  /s/ Rafael Recalde
                                                  Rafael Recalde, Esq.
                                                  FBN: 60040




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